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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

UNITED STATES OF AMERICA                               )
                                                       )
       v.                                              )       Case No. 3:19cr19
                                                       )       Hon. M. Hannah Lauck
TROY G. SKINNER,                                       )
                                                       )
                       Defendant.                      )

                      Defendant’s Reply to Government’s Response to his
                              Motion to for Jury Questionnaire

      COMES NOW, the defendant, by counsel, and submits his reply to the government’s

response to his motion for a jury questionnaire, and restates his request that the jury be provided

a questionnaire, not only to address the question of pretrial publicity, but also to be able to gain

some perspective on the jury pool’s viewpoints on the very sensitive issue of child pornography

and the exploitation of children. A confidential and private jury questionnaire on these sensitive

topics is far preferable to the open and public questioning during voir dire at the trial.

       The government’s response states that the requested questionnaire is unnecessary.

Conceding that “the defendant’s case initially received an above-average amount of publicity,”

the government does not address the defendant’s concerns with the sensitive nature of child

exploitation and pornography. Gov’t Resp at 1-2. Rather, the government raises concerns with

particular questions posed in the proposed questionnaire. The questions can be modified. To

make efficient use of the Court’s time, and to properly assess the perceptions, biases and

prejudices of the jury pool, a proposed jury questionnaire should be administered.




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                                                     Respectfully Submitted,
                                                     TROY G. SKINNER

                                             By:            /s/
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                                CERTIFICATE OF SERVICE
       I hereby certify that on May 3, 2019, I filed the foregoing unredacted version of this
pleading with the Clerk of the Court, and sent a notification of such filing to:

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                                                                   /s/
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